      Case 2:22-cv-00226-DPM Document 9 Filed 03/02/23 Page 1 of 1



           IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                      DELTA DIVISION

JERROD ALEXANDER RANKIN                                     PLAINTIFF
ADC #164646

v.                      No. 2:22-cv-226-DPM

ARKANSAS COUNTY DETENTION
CENTER and ARKANSAS
DEPARTMENT OF CORRECTIONS                               DEFENDANTS

                               ORDER
     1.   The Court withdraws the reference.
     2.   Rankin hasn't filed an amended complaint; and the time to
do so has passed. Doc. 4. His complaint will therefore be dismissed
without prejudice. LOCAL RULE 5.5(c)(2). An in forma pauperis appeal
from this Order and accompanying Judgment would not be taken in
good faith. 28 U.S.C. § 1915(a)(3).
     So Ordered.


                                       D .P. Marshall Jr.
                                       United States District Judge
